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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                         )
 MAKE THE ROAD NEW YORK, et al.,                         )
                                                         )
                              Plaintiffs,                )
                                                         )
             v.                                          )
 ALEJANDRO MAYORKAS, Secretary of the                    )   No. 2019-cv-02369-KBJ
 Department of Homeland Security, et al.,                )
                                                         )
                              Defendants.                )
                                                         )


                  PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE

       Plaintiffs object to staying or otherwise holding their action in abeyance absent a

commitment by Defendants not to utilize the authority granted by the challenged 2019 Expedited

Removal Designation pending Defendants’ review of that rule and the rule’s potential

modification or rescission.

       On July 23, 2019, then-Acting DHS Secretary Kevin McAleenan published a rule in the

Federal Register authorizing immigration officers to apply expedited removal to noncitizens

arrested anywhere in the country who entered by land and cannot show continuously presence in

the United States for at least two years. See Notice Designating Aliens for Expedited Removal,”

84 Fed. Reg. 35,409 (July 23, 2019) (“2019 Designation”). The 2019 Designation expanded the

use of expedited removal beyond its prior limits. Previously, expedited removal was limited to

those who had been in the country for up to fourteen days and were apprehended near the border,

or those who had arrived by sea. See generally ECF 56-1 at 2-12. Plaintiffs filed this action on

August 6, 2019 to challenge this unprecedented change. See ECF 1.




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       On February 2, 2021, President Biden directed the Secretary of the Department of

Homeland Security, Alejandro Mayorkas, to review the July 2019 Designation. See Exec. Order

(Feb. 2, 2021), “Creating a Comprehensive Regional Framework to Address the Causes of

Migration, to Manage Migration Throughout North and Central America, and to Provide Safe

and Orderly Process of Asylum Seekers at the United States Border,” available at

https://bit.ly/3joTRf5. Section 4(b)(ii) of the Executive Order provides:

       The Secretary of Homeland Security shall promptly review and consider whether
       to modify, revoke, or rescind the designation titled “Designating Aliens for
       Expedited Removal,” 84 Fed. Reg. 35,409 (July 23, 2019), regarding the
       geographic scope of expedited removal pursuant to INA section 235(b)(1), 8 U.S.C.
       1225(b)(1), consistent with applicable law. The review shall consider our legal and
       humanitarian obligations, constitutional principles of due process and other
       applicable law, enforcement resources, the public interest, and any other factors
       consistent with this order that the Secretary deems appropriate. If the Secretary
       determines that modifying, revoking, or rescinding the designation is appropriate,
       the Secretary shall do so through publication in the Federal Register.

The required review may result in the Secretary’s rescission of the 2019 Designation, pursuant to

the authority set out in in 8 U.S.C. § 1225(b)(1)(A)(iii). If that is the outcome, then Plaintiffs’

action may be moot, at that time.

       However, pending the ordered review, Defendants retain the authority to place

individuals into the expanded scope of expedited removal, as set out in the 2019 Designation.

Thus, the case is not moot at this time. See Singh v. Carter, 185 F. Supp.3d 11, 19 (D.D.C.

2016) (“‘A case becomes moot only when it is impossible for a court to grant any effectual relief

whatever to the prevailing party.’”) (quoting Campbell–Ewald Co. v. Gomez, 136 S. Ct. 663, 669

(2016)). To demonstrate that voluntary cessation of a challenged action has mooted a case,

Defendants must show “(1) there is no reasonable expectation that the alleged violation will

recur . . . and (2) interim relief or events have completely and irrevocably eradicated the effects




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of the alleged violation.” DL v. District of Columbia, 187 F. Supp. 3d 1, 5 (D.D.C. 2016)

(citation and quotation marks omitted).

       The Executive Order does not restrict or pause Defendants’ use of the authority set out in

the July 2019 Designation pending the ordered review. Nor do the other actions taken by the

Biden Administration fully restrict the use of the authority granted by the 2019 Designation. On

January 20, 2021, then-Acting Secretary of DHS David Pekoske issued a Memorandum directing

“a review of policies and practices concerning immigration enforcement [and setting] interim

policies during the course of that review.” See January 20, 2021 DHS Memorandum Regarding

Review of and Interim Revision to Civil Immigration Enforcement and Removal Policies and

Priorities, available at https://bit.ly/3jjy0pp (“Pekoske Memorandum”). The Pekoske

Memorandum provides interim guidance on enforcement actions pending such review, as well as

a temporary moratorium on removals, the latter of which is currently stayed pursuant to court

order. See Order, ECF 16, Texas v. United States, 21-cv-0003 (S.D. Tx. Jan. 26, 2021). The

Pekoske Memorandum provides only interim guidance, and moreover places no limitations on

enforcement actions – meaning arrests and placement in proceedings – or execution of removal

orders as to individuals who were not physically in the United States before November 1, 2020.

Thus, the Pekoske Memorandum may not fully protect Plaintiff Organizations and their members

against the use of the challenged Designation pending review.

       Plaintiffs welcome the announced review of the 2019 Designation. However, absent a

commitment to non-utilization of the 2019 Designation pending such review, Plaintiff

Organizations and their members continue to face the imminent threat of injury, and their claims

remain live. For that reason, this action should remain under active consideration by the Court.




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Dated: February 4, 2021                          Respectfully submitted,

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